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                             Appendix Chapter X
                                (New Chapter)
         Instructions for Completing the Foundation Compliance Form
      A completed Foundation Compliance Form is required for all foundations designed by an
                              engineer or architect unless waived by the Building Official.

1.       Section A or B shall be filled out completely and stamped by a Professional Engineer or
         Licensed Architect. (In the case of drilled piers, a Professional Engineer's stamp is
         required.) Please refer to the form to determine whether Section A or B is applicable.

2.       The form cannot be altered.

3.       If a drilled pier foundation is used, drilling logs SHALL be attached.

4.       The completed form shall be submitted PRIOR to requesting a final building inspection.

5.       Failure to follow these outlined procedures shall result in REJECTION of the Foundation
         Compliance Form and a delay in the final building inspection and/or issuance of the
         Certificate of Occupancy.

SITE CONDITIONS/PREPARATIONS

This section deals with the general onsite conditions found on the particular property to be
inspected. These conditions include, but are not limited to:

Site Vegetation
Tree Roots
Lot Cut
Lot Fill

Site vegetation: Foundation excavations shall be inspected for the presence of organic matter
and vegetation. Such vegetation includes native grasses, weeds, shrubs and other vegetation.
The site shall be void of such materials before the installation of the foundation.

Tree roots: The areas of the foundation where concrete will be placed shall be inspected for
the presence of roots of trees and shrubs and shall be void of such materials before the
installation of the foundation.

Lot cut and fill: Cut and fills which may affect the performance of the structure shall be
verified to be of a stable configuration and meet the bearing capacity specified in the
geotechnical report and foundation design.

Drainage: Any site drainage conditions that would require special site preparation or
foundation design shall be noted and reported to the design engineer prior to installation of the
foundation.

Other: The existence of other site conditions specified in the plans shall be verified.

Tolerances: Any reference to a "tolerance" means the tolerance which is specified in the
accepted plans.


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Piers/pier holes: Piers (caissons) shall be inspected within the following parameters.

        Number                                     Alignment
        Size                                       Spacing
        Depth                                      Concrete
        Material Penetration                       Cap Finish
        Groundwater                                Reinforcing
        Refuse Material                            Casings

Number: Total number of piers (caissons) shall be identical to pier number specified in design
and specifications. Drilling logs shall be provided by the drilling contractor specifying the total
number drilled and depth of each.

Inspections shall be made on a minimum of 50% of pier holes. The inspections shall include
piers drilled on all levels of excavations, as well as at opposite ends of the excavations (two
corners; diagonal.)

A sketch showing the location of pier holes shall be attached.

Size: Minimum diameter tolerance on piers. Any variation in pier diameter shall be approved
by the design engineer and noted on the drill log submitted with the Foundation Compliance
Form. Diameter to be measured with steel tape.

Depth: Depth shall be per design and specifications and shall be measured with steel tape.

Material penetration: Piers shall be drilled into bedrock or refusal per design and
specifications. Inspection to be made with light and mirror test and onsite evaluation of
material brought out of pier hole.

Groundwater: Pier holes should be dry at time of inspection. If conditions observed indicate
more than 4" of groundwater in any pier hole, the inspector shall remain to inspect all caissons
and concrete placement.

Refuse material: Pier holes shall be clean at the bottom and shall be visually inspected.

Alignment: Piers are to be straight, plumb, and true and shall be visually inspected. Proper
alignment shall be verified at various depths of hole.

Spacing: Piers shall be located and spaced properly as per accepted foundation design and
specifications.

Concrete: Concrete shall be placed and tested per the strength specifications and placement
procedures contained in the accepted plans. Concrete shall be properly cured per the specified
plans and standard engineering practice.

Cap finish: The pier cap shall be clean and the same diameter as the piers per accepted
foundation design and specification.

Reinforcing: Reinforcing in pier shall be per accepted foundation and structural design and
specifications.



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Casing: If water is found in pier hole greater
than 4" deep or if cave-in of pier hole sides occurs, design engineer shall specify remedy and
shall note the remedy on the submitted documentation accompanying the drill log.

PIER AND BEAM

Piers shall be inspected as outlined. Beams shall conform to the following:

Pier union to beam via steel shall be per plans and design specifications.

Grade beam shall be of proper dimension per design specifications.

Grade beam shall be placed as specified in accepted design and specifications.

The top of drilled piers shall be clean and placed per accepted design specifications to create a
uniform pier shaft.

Steel shall be continuous with no gaps, except as specified in the accepted plans.

Steel size and grade shall be per accepted plans and design specifications.

The pier cap shall be clean and the same diameter as the piers per the accepted specifications.

BEAM VOIDS

Proper void size and material shall be per plans.

Void material shall be properly placed per specifications in accepted construction plans.

Void material shall be in good condition.

Wet or collapsed void material shall be replaced prior to concrete placement or reestablished
after forms are removed.

Joints in void material shall be sealed.

All concrete infiltration into void space shall be removed after forms are removed.

FOUNDATION WALLS/SPREAD AND PAD FOOTINGS/SLAB-ON-GRADE

Height, depth, width, length and reinforcing shall be per accepted foundation structural design
and specifications.

Steel reinforcing: Reinforcement steel/mesh shall be as specified by accepted foundation and
structural design as to size, type and grade. Steel shall be clean and free of loose rust. Any
loose rust or scaling shall be removed before concrete placement. The steel/mesh shall be
positioned in the center of the slab or as outlined in the accepted plans.

Foundation drains: Foundation drains to be located and placed as per accepted foundation
design and specifications. The drains shall be inspected to verify the fall specified in the plans.
The daylight or discharge point shall also be inspected to verify positive flow.



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                                                   FOUNDATION COMPLIANCE FORM
                                                           APPENDIX CHAPTER X
                                                                Do Not Alter This Form
                                                                    (Please Print Legibly)
                                           THIS FORM MUST BE FILLED OUT COMPLETELY
                                                                               2020-120156

JEFFERSON COUNTY DIVISION OF BUILDING SAFETY                                  BUILDING PERMIT NO:
100 JEFFERSON COUNTY PARKWAY
GOLDEN, COLORADO 80419-3540
CONSTRUCTION SITE ADDRESS                                                     CONTRACTOR’S NAME & ADDRESS




TYPE OF FOUNDATION:                   Drilled Piers                          Spread Footings                      Pad & Grade Beam
                                      Narrow Spread Footings                      Other (Please Specify)

FOUNDATION INSPECTION PROCEDURE
All inspections shall be performed according to the procedures outlined in this Appendix Chapter X, of the 2018 Jefferson County
Code Supplement and shall be signed, dated, and stamped by a Colorado Registered Professional Engineer or Colorado Licensed
Architect. (Drilled pier foundations shall bear the seal of a Colorado Registered Professional Engineer.) This appendix to the code
provides a procedural guideline and is as comprehensive as possible, but cannot account for every possible situation encountered in
the field. The guidelines shall be deemed to be the minimum inspection required and do not relieve the engineer or architect from any
responsibility to conduct such additional inspections as may be necessary to determine that the foundation conforms to the plans and
specification accepted for construction for the above referenced project. The inspecting engineer/ architect is required to consult the
design engineer/architect on any unusual condition which may arise on the site. A set of foundation drawings bearing the Jefferson
County Stamp shall be on the job site. Any modifications to accepted plans shall be approved by the design engineer and revised
plans showing those modification submitted to the Division of Building Safety.

VERIFICATION OF INSPECTION
Our representative has inspected the applicable portion of the foundation and subsurface drainage system (where applicable) in
accordance with the guidelines set forth in this Appendix Chapter X, of the 2018 Jefferson County Code Supplement. I do hereby
verify that the portions inspected were in compliance with the plans and specifications on file with the Division of Building Safety.
However, this verification is not a guarantee as to the overall performance of the foundation system. Drilling logs for drilled pier
foundations SHALL be attached to the Foundation Compliance Form.
Section A may be used for all the required inspections.
Fill out Section B if more than one engineer has completed and is responsible for all the required inspections.


                                                              SECTION A
                         Type of Inspection                                     Dates of Inspections              Seal & Signature
1.     Site Condition / Preparation
2.     Pier Holes & Piers / Caissons / Footings
3.     Grade Beams / Foundation Walls / Slab on Grade
4.     Other:
5.     Foundation Drains
Engineer:
Firm Name:
Address:
                                     100 Jefferson County Parkway, Golden Colorado 80419-3540
                                               (303) 271-8260 – buildingsafety@jeffco.us
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                                SECTION B     Page 2 of 2
Construction                                            Building Permit
Site Address:                                                  Number:
           Site Condition            Dates of Inspections                 Seal & Signature
                 &
            Preparation
Engineer:
Firm Name:
Address:

      Pier Holes & Piers             Dates of Inspections                 Seal & Signature
           Caissons
       Spread Footings
         Pad Footings
Engineer:
Firm Name:
Address:

            Grade Beams              Dates of Inspections                 Seal & Signature
       Foundation Walls
           Slab-on-Grade
Engineer:
Firm Name:
Address:

           Other: Specify            Dates of Inspections                 Seal & Signature




Engineer:
Firm Name:
Address:

      Foundation Drains              Dates of Inspections                 Seal & Signature




Engineer:
Firm Name:
Address:
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                                                         www.jeffco.us/building-safety



                    Inspection Sequence Procedural Guide

IMPORTANT NOTICE: The local Fire District has individual authority to enforce fire
code standards beyond the county’s requirements. Cooperation and coordination with
your local fire district early in the process may prevent costly alterations to your
project and ensure compliance with all applicable health and safety standards.

Requests for an inspection for building, electrical, mechanical, plumbing and re-roofing may
be made online, in person or via telephone 303-271-8260. Requests for an inspection in
person or via telephone must be scheduled Monday through Friday between the hours of
7:30 a.m. and 5:00 p.m. prior to the day of your inspection. Online inspections can be
scheduled up to 6:00 am the day of the inspection.

The following guidelines provide information regarding inspections and the correct sequence
in which they should be requested by the contractor.

Please have your permit number(s) available when requesting inspection(s).
When inspection requests are being made for more than one permit, each request
will be entered separately. This will speed up the process and help ensure the
proper inspection is being requested.

Step 1. Foundation Inspection:

    x    Non-engineered Footings and Foundation: Inspections will be made by the
         Jefferson County Division of Building Safety before concrete is poured.
    x    Engineered Footing and Foundation: Footing, drilled piers and foundation plans
         stamped by a Colorado Registered Professional Engineer or Architect will require
         inspections by the engineer and also by the Jefferson County Division of Building
         Safety, as outlined in the Jefferson County Supplement to the 2018 International
         Building Codes, Appendix Chapter X (instructions for Completing the Foundation
         Compliance Form)
    x    If Engineered Foundation is marked "YES" on your Building Card (inspection
         sign off card), the Foundation Compliance Form shall be submitted to, and approved
         by, our office prior to requesting a Final Building inspection.
    x    Concrete Encased Electrode: (UFER) installation observation may be required per
         Article 250.52A3 of the current National Electrical Code.

Step 2. Wall and/or Roof Sheathing: prior to covering, provide access for inspector.

Step 3. Rough Inspections: (in any order) Electrical, Mechanical, Fireplace/Gas Log &
Plumbing, Site Built Shower Pan, Structural Concrete Slab or Under-floor inspection.

    x    Rough electrical inspection shall not be requested until the building is weathered in.
    x    If applicable, a Temporary Building Service inspection must be requested as a
         separate inspection along with the rough electrical. If you have questions regarding
         electrical inspections or requirements, please see our updated Residential Wiring
         Guide on our website at www.jeffco.us/building-safety under the documents tab.
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    The temporary building service will be released after the rough electrical inspection has
    been made and approved.

    x   If electric baseboard heat is installed, all baseboard panels must be mounted on
        sheetrock.
    x   The installation of a commercial fire sprinkler system is to be inspected by the Fire
        District who has jurisdiction according to 901.5.1 of the 2018 IBC.
    x   The installation of a multipurpose residential fire sprinkler system is to be inspected
        according the currently adopted plumbing code.

Step 4. Mid-roof Inspection: inspection of material application/nailing pattern per
manufacturer instructions, call for inspection when at least 10% but not more than 25% of
application is applied. Manufacturer’s instructions are required to be on-site for the
inspection. This inspection can be called in any sequence after the roof sheathing
inspection has been approved.

Step 5. Framing: (call only after all required rough inspections have been approved by the
inspector AND entered into the computer system, usually after 4:30 PM of the day of the
inspection). Deferred documents listed on the plan review checklist or plan correction
notice, must be submitted to the building division, and the Improvement Location
Certificate, if required, must be submitted to the Planning and Zoning Division before a
framing inspection can be scheduled.

Step 6. Stucco Lathe

Step 7. Residential Drywall Screw Inspection: A drywall screw inspection shall be
made after the framing inspection.

Step 8. Drywall for Fire Resistant Assemblies & Commercial

Step 9. Final Inspections:
The following paperwork must be submitted before calling in for your final building
inspection:

    x    All open Planning & Zoning processes must be complete before requesting a
         final building inspection.
    x    Foundation Compliance Form (provided by the Jefferson County Division of
         Building Safety) signed and stamped by a Colorado Registered Professional Engineer
         or Architect.
    x    Engineered Documents required by the Building Division, so noted on your plans,
         signed and stamped by a Colorado Registered Professional Engineer or Architect.
    x    Special Inspection Report - Form provided by the Division of Building Safety
    x    Fire Sprinkler System and Fire Alarm System – Commercial Only
         Form provided by the Division of Building Safety




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(Residential/Commercial Final)

    x    Electrical, Mechanical & Plumbing finals must be approved before a Final Building
         Inspection can be done.

    x    The final electrical inspection will not be made without permanent power.

    x    Final energy documents as required on the plan review checklist must be turned in
         and approved before a final building inspection can be called.


Help Us Make Your Inspection a Successful One

    x    It is your responsibility, and the responsibility of your sub-contractors, to
         call this division when these phases of the work are complete and ready for
         inspection.
    x    Each Inspector, where applicable, Building, Electrical, Mechanical and Plumbing will
         visit your project a minimum of two times during construction.
    x    Please remember that each inspector normally has many other inspections to make
         that same day and a lot of other people are counting on him to get to their job site.
         Make sure an address is posted in a visible location and access to the project is
         provided.
    x    If the Building Permit Card (Inspection Sign-Off Card), County accepted
         plans and manufacturer’s instructions (when required) are not on the job
         site, the inspection will be rejected and may be assessed a reinspection fee.

Important Note: The Certificate of Occupancy, if one is required, will not be
issued, nor a final electric meter released to the power company until all required
paperwork and Planning and Zoning final approval are submitted to the building
department. The Certificate of Occupancy will be issued after 11 a.m. the next working day
after all required paper work has been submitted and approved by the Jefferson County
Division of Building Safety.




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                Foundation Inspection Notice
                  Engineered Foundations


 x   Requests for an inspection may be made in person or by phone,
     Monday through Friday between the hours of 7:30 a.m. and 5:00
     p.m. Inspection requests must be received prior to 5:00 p.m. the day
     before your inspection and include the time the design professional will
     be on site.

 x   Footing and foundation plans stamped by a Colorado Registered
     Professional Engineer or Colorado Licensed Architect may require an
     inspection by both the design professional and the Jefferson County
     Division of Building Safety as outlined in the Jefferson County Building
     Code Supplement as follows:

           Section R110.3 Footing Inspections. To be made after trenches
           are excavated, forms erected and reinforcing steel, if any, placed
           and before any concrete is placed.

           Section R110.3.2 Drilled Pier Inspections. Will be made while the
           piers are being drilled. The Engineer of record or his authorized
           representative shall be present for a minimum of 50% of the
           drilling operations and be available to the County building
           inspector during required inspections, per Appendix Chapter X.

           Section R110.3.1.2 Foundation Wall Inspections. Will be made
           after the footings or piers have been poured. The foundation wall
           will be formed, and reinforcing steel and void material is in
           place.

           Section R110.3.4 Concrete Encased Electrode (UFER)
           Observation. Shall be made prior to concrete placement
           surrounding UFER. Refer to Article 250.52 (A) (3) of the 2017
           National Electrical Code.




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